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8
                              UNITED STATES DISTRICT COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
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11   HERLINDA C.,                            )      CASE NO. CV 19-2730-AGR
                                             )
12               Plaintiff,                  )
                                             )      JUDGMENT
13               vs.                         )
                                             )
14   ANDREW SAUL, Commissioner of            )
     Social Security,                        )
15                                           )
                               Defendant.    )
16                                           )
17
18         IT IS HEREBY ADJUDGED that judgment is entered for the Plaintiff and that
19   this action is remanded to the Commissioner for further proceedings consistent with
20   the Memorandum Opinion and Order.
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24   DATED: October 27, 2020
                                                     ALICIA G. ROSENBERG
25                                               United States Magistrate Judge
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